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   9
  10                      UNITED STATES DISTRICT COURT
  11        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
  14                                          NOTICE OF MOTION AND
                  Plaintiff,                  MOTION FOR:
  15
           v.                                 1) SUMMARY JUDGMENT ON
  16                                             COPYRIGHT INFRINGEMENT
     INTERFOCUS, INC. d.b.a.                     CLAIMS IN PLAINTIFF’S
  17 www.patpat.com, a Delaware                  COMPLAINT; AND
     Corporation; CAN WANG, and
  18 individual, and DOES 1-10, inclusive.,   2) PARTIAL SUMMARY
                                                 JUDGMENT ON
  19              Defendants.                    COUNTERCLAIM;
                                                 MEMORANDUM OF POINTS
  20                                             AND AUTHORITIES IN
     INTERFOCUS, INC. d.b.a.                     SUPPORT THEREOF
  21 www.patpat.com, a Delaware               Date: August 16, 2021
     Corporation; CAN WANG, an                Time: 10:00 am
  22 individual, and DOES 1-10, inclusive,    Courtroom: 8D
  23              Counterclaim Plaintiffs,    The Hon. Christina A. Snyder
  24        v.
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
                  Counterclaim Defendant.
  27
  28

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   1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
   2         Please take notice that on August 16, 2021 at 10:00 a.m., in the courtroom of
   3 the Honorable Christine A. Snyder, located at Courtroom 8D, Defendant InterFocus
   4 d.b.a. www.patpat.com (“Interfocus”), will and hereby does move for: 1) summary
   5 judgment that all of Plaintiff’s copyright infringement claims are barred by its
   6 release of and InterFocus’ “cure” of those alleged infringements pursuant to a
   7 previous settlement agreement; and 2) partial summary judgment that Neman
   8 Brothers has breached that same settlement agreement as a matter of law.
   9         Said motion is made pursuant to Federal Rule of Civil Procedure 56 on the
  10 grounds that (1) Plaintiff entered into a settlement agreement with InterFocus in
  11 which, inter alia, it released InterFocus from liability for copyright infringement
  12 claims it asserted in a previous action, and agreed Defendant could “cure” future
  13 infringements as provided therein; and (2) all of the copyright infringement claims
  14 Plaintiff asserts in its amended complaint were (i) released in the previous
  15 settlement agreement, (ii) “cured” as provided in the previous settlement agreement,
  16 and/or (iii) were filed in breach of the “notice and cure” provisions of that
  17 agreement.
  18         The motion is based upon this notice of motion and motion, the concurrently
  19 filed declarations of Mark S. Lee and Weiwei Le in support thereof, the exhibits
  20 submitted therewith, the records and pleadings submitted herein and the pleadings
  21 filed in the previous copyright infringement action Plaintiff filed against InterFocus,
  22 of which the Court is respectfully requested to take judicial notice, and upon such
  23 other and further matters as may be presented at any hearing on this motion. This
  24 motion is made following the conference of counsel pursuant to L.R. 7-3 which took
  25 place on July 6, 2021.
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   1                                       RIMON, P.C.
   2 Dated: July 13, 2021
   3                                   By: /s/ Mark S. Lee
   4                                       Mark S. Lee
                                           Zheng Liu
   5
                                           Attorneys for Defendants and
   6                                       Counterclaim Plaintiffs
   7                                       INTERFOCUS, INC. d.b.a.
                                           www.patpat.com
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2 I.      INTRODUCTION
   3         Plaintiff Neman Brothers & Assoc., Inc (“Neman Brothers”) pursues
   4 copyright infringement claims it previously released and Defendant cured as
   5 permitted by a previous settlement agreement. Defendant InterFocus, Inc.
   6 (“InterFocus”) moves for summary judgment dismissing all such released and cured
   7 claims with prejudice, and for partial summary judgment that Neman Brothers is
   8 liable for its breach of that settlement agreement as a matter of law. InterFocus’
   9 motion should be granted for the reasons described below.
  10         A.    Neman Brothers.
  11         Neman Brothers is a California company that has filed almost a hundred
  12 copyright infringement actions in this Court, virtually all involving fabric patterns
  13 on garments manufactured in China. (Lee Decl. ¶ 2 and Ex. 1.) Most of those cases
  14 resulted in confidential settlements, but summary judgment has been entered against
  15 Neman Brothers for, inter alia, refiling released copyright infringement claims or
  16 pursuing claims that lack merit as a matter of law. Neman Brothers & Assoc., Inc. v.
  17 One Step up Ltd., 764 Fed. Appx 624 (9th Cir. March 25, 2019) (affirming summary
  18 judgment against Neman Brothers for refiling copyright infringement claims it
  19 already released); see also, Neman Brothers & Assoc., Inc. v Burlington Stores, Inc.,
  20 765 Fed. Appx. 235 (9th Cir. March 25, 2019) (affirming summary judgment
  21 against Neman Brothers on copyright infringement claims because the fabric
  22 designs at issue were not substantially similar as a matter of law).
  23         B.    Neman Brothers Previously Sued InterFocus for Copyright
                   infringement of the Same Copyrights.
  24
             Neman Brothers first filed suit against Interfocus in Neman Brothers & Assoc.
  25
       Inc v. Interfocus, Inc., Case No. 2:19-CV-10112, before the Hon. John A. Kronstadt.
  26
       (The “Previous Suit.”) Neman Brothers in that action alleged that InterFocus
  27
       infringed some of the same alleged copyrights at issue here. (Cf. Dkt. No. 1 in the
  28

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   1 Previous Action and Dkt. No. 1 herein.) Although InterFocus disputed its liability in
   2 that action, due to the relatively small volume of sales of disputed items, it entered
   3 into a “nuisance value” settlement on confidential terms (the “Previous Settlement
   4 Agreement” or “PSA.”) (Le Decl. ¶¶ 2-4, Exs 2 and 3.)1 Neman Brothers dismissed
   5 its claims against InterFocus with prejudice in the previous action as the PSA
   6 required it to do. (Previous Action Dkt. No. 19.)
   7         C.     Key Terms of the Previous Settlement Agreement.
   8         InterFocus does not describe all of the terms of the Previous Settlement
   9 Agreement due to its confidential nature. However, relevant key terms are:
  10          1) Neman Brothers released InterFocus from liability for all claims Neman
  11 Brothers asserted or could have asserted in the Previous Action (PSA §7, Ex. 2 and
  12 3);
  13         2) Neman Brothers agreed to give InterFocus written notice of any future
  14 alleged infringement of intellectual property, and allowed InterFocus seven business
  15 days thereafter to “cure” it by removing the allegedly infringed products from its
  16 platform. Le Decl. ¶ 4; PSA §5, Exs. 2 and 3); and
  17         3) Neman Brothers agreed that it would not file a lawsuit against InterFocus
  18 for any future alleged infringement until thirty days after giving InterFocus written
  19 notice so the parties could resolve the dispute amicably by, for example, InterFocus
  20 curing the alleged infringements as provided earlier in that paragraph. (Id.)
  21         InterFocus fully complied with all of its obligations under the PSA following
  22 its execution. (Le Decl. ¶ 5.)
  23              D. Neman Brothers Sends A Cease-and-Desist Letter in September
                     2020 Concerning Released and Other Claims.
  24
  25         As required by the Previous Settlement Agreement, Neman Brothers sent

  26
       1
  27  Ex. 2 is a redacted version of the PSA. Ex. 3 is a complete version of the PSA,
     which InterFocus concurrent applies to file under seal because of its confidential
  28 nature. (See Application to File Under Seal.)

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   1 InterFocus a letter complaining about alleged infringements on or about September
   2 15, 2020 (the “September 15 letter”). That letter alleged infringement of Neman
   3 Brothers’ claimed copyrights in the following fabric patterns and garments:
   4
   5
   6
   7
   8
   9
  10
  11
  12
  13
       (Le Decl. ¶¶ 6, 8; Ex. 4, and Ex. 1 thereto.)
  14
             InterFocus immediately launched an investigation into Neman Brothers’
  15
       claims in compliance with its obligations under the Previous Settlement Agreement.
  16
       It discovered that it had already removed from its platform three of the alleged
  17
       infringements Neman Brothers’ letter complained of before it entered into the
  18
       Previous Settlement Agreement as follows:
  19
  20
  21
  22
  23
  24 (Le Decl. ¶¶ 7, 9-10, 14.)
  25         InterFocus also removed from its platform the other three alleged
  26 infringements within seven business days of receiving Neman Brothers’ September
  27 15, 2020 letter, and thereby “cured” the alleged infringement involving the
  28 following three garments as provide in the PSA:

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    1
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    6 (Le Decl. ¶¶ 11-12.)
    7         InterFocus also reconfirmed that the other three released alleged
    8 infringements it had stopped selling pursuant to the PSA were no longer on its
    9 platform, and thereby “cured” those already-released infringements as well. (Le
   10 Decl. ¶¶ 9-10.)
   11         Through its counsel, InterFocus advised Neman Brothers of the above in a
   12 letter that laid out the dates on which each of the alleged infringements had been
   13 removed from InterFocus’ platform as provided in the previous settlement
   14 agreement. (Le Decl. ¶ 13; Ex. 5.) The parties thereafter attempted to negotiate an
   15 overall license agreement between Neman Brothers and InterFocus without success.
   16 (Le Decl. ¶ 15.)
   17         E.    Neman Brothers Files Original and Amended Complaints Herein
                    In Breach of the Previous Settlement Agreement.
   18
              Neman Brothers filed its original complaint herein on December 9, 2020.
   19
        (Dkt. No. 1.) Though Neman Brothers had already released InterFocus from liability
   20
        for three of the alleged infringements as described above, and Interfocus had
   21
        “cured” any alleged infringement involving all of the alleged infringements as
   22
        described above, Neman Brothers’ complaint repeated the allegations of the
   23
        September 15 letter and Previous Action regarding those three released and six
   24
        cured alleged infringements. (CF. Dkt. No.1 and Exs. 1-6 and September 15 letter
   25
        Ex. 1, concurrently filed as Ex. 4.) Neman Brothers’ original complaint herein
   26
        admits that “[t]hese garments are in fact virtually the same garments Defendant had
   27
        already been sued for in a prior action (Neman Brother & Associates, Inc. v.
   28

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    1 Interfocus, Inc. (Case No. 2:29-cv-10112) [sic-the actual case number is 2:19-cv-
    2 10112] for the infringements upon the exact same Subject Designs specified above.”
    3 (Dkt. No. 1 herein, ¶ 16.)
    4         Neman Brothers thereafter filed a first amended complaint (which it
    5 erroneously styled “Complaint”) on January 5, 2021. (Dkt. No. 10.) That amended
    6 complaint repeats the allegation contained in its original complaint (Dkt. No. 10, ¶
    7 21), and further admits that the alleged infringements “shown in Exhibits 2, 4 and 5
    8 [of the amended complaint] bear… the same printing patterns about which it
    9 [InterFocus] had been sued by Plaintiff already.” (Id.)
   10         That amended complaint also added new copyright infringements claims
   11 about which, in breach of the PSA, Neman Brothers had never sent written notice.
   12 That breach of the PSA never gave InterFocus an opportunity to “cure” those
   13 alleged infringements before Neman Brothers filed suit, and never started the
   14 running of the seven day window in which InterFocus could “cure” those alleged
   15 infringements. (Le Decl. ¶ 16.) Despite Neman Brothers’ breaches and failures,
   16 InterFocus removed these new alleged infringements from its platform, thereby
   17 “curing” those alleged infringements as permitted by the PSA. (Le Decl. ¶ 16.)
   18         Thus, all of the alleged infringements in Neman Brothers’ amended complaint
   19 have been contractually released, were cured pursuant to the “notice and cure”
   20 provisions of the PSA, and/or were filed without required notice in breach of the
   21 PSA. Summary judgment against Neman Brothers on all its copyright infringement
   22 claims, and partial summary judgment in favor of InterFocus on its breach of
   23 contract counterclaims, is appropriate in these circumstances as shown below.
   24 II.     NEMAN BROTHERS’ COPYRIGHT INFRINGEMENT CLAIMS ARE
   25         BARRED BY THE PREVIOUS SETTLEMENT AGREEMENT AS A
              MATTER OF LAW.
   26
              Neman Brothers’ copyright infringement claims are barred by the release and
   27
        “notice and cure” provisions of the PSA as a matter of law for the reasons described
   28

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    1 below.
    2           A.    InterFocus is Not Liable on the Claims Neman Brothers
                      Contractually Released as a Matter of Law.
    3
                InterFocus cannot be liable on three of the claims asserted in Neman
    4
        Brothers’ amended complaint because Neman Brothers contractually released them,
    5
        as case law affirms.
    6
                Neman Brothers & Assoc., Inc. v. One Step Up Ltd., 2017 WL 6885390, *3
    7
        (C.D. Cal 12/13/2017), granted summary judgment against Neman Brothers when it
    8
        pursued copyright infringement claims it had already released in a previous
    9
        settlement agreement. As Judge Klausner of this Court stated:
   10
                “Courts   view settlement agreements as final dispositions and will not
   11
                adjudicate issues that have already been resolved. Therefore, Plaintiff’s
   12
                claims should be dismissed if they fall within the scope of the Release…The
   13
                Court…finds that the Settlement Agreement released the present copyright
   14
                infringement claims and GRANTS summary judgment in favor of Defendants
   15
                on those claims.” (internal citations omitted; emphasis in original.)
   16
                That summary judgment was affirmed on appeal. Neman Brothers & Assoc.,
   17
        764 Fed. Appx. 625 (9th Cir. Mar. 25, 2019).
   18
                Here, as in the One Step case, three of Neman Brothers’ copyright
   19
        infringement claims fall within the scope of the release the release in the Previous
   20
        Settlement Agreement relating to Neman Brothers’ copyright infringement claims
   21
        based on exhibits 2, 4 and 5 of the amended complaint. Those copyright
   22
        infringement claims involve the same alleged infringements of the same copyrights
   23
        Neman Brothers alleged were infringed in the Previous Action, as its original and
   24
        amended complaints admit. InterFocus has not engaged in any further allegedly
   25
        infringing activities involving those three copyrights since it entered into the PSA
   26
        (Le Decl. ¶¶ 10, 14), Neman Brothers has produced no evidence to controvert that
   27
        fact.
   28

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    1         The undisputed facts are that InterFocus engaged in no allegedly infringing
    2 activities involving those released works since entering into the Previous Settlement
    3 Agreement. (Le Decl. ¶¶ 9-13.) Neman Brothers’ pursuit of those released and
    4 dismissed claims is, therefore, barred as a matter of law. Neman Brothers & Assoc.,
    5 Inc. v. One Step Up Ltd., supra.
    6         B.    All of Neman Brothers’ Claims are Barred by the “Notice and
                    Cure” Provisions of the Previous Settlement Agreement.
    7
                    1.    The Previous Settlement Agreement Contains a “Notice and
    8                     Cure” Provision.
    9         “Notice and cure” provisions are common, and encouraged, in agreements,
   10 and summary judgment is appropriate where, as here, a party breaches them. “The
   11 need to give a breaching party notice of the breach and an opportunity to cure it is
   12 basic to contract law.” United States v. Packwood, 687 F. Supp 471, 475 (N.D.Cal.
   13 1987) (citing the Restatement (Second) of Contracts § 241(d)). Such provisions give
   14 a contracting party the opportunity to remedy a breach by taking the steps set forth
   15 in the contract, and by “curing” it, placing itself in a pre-default condition. Petersen
   16 v. Hartell, 40 Cal. 3d 102, 40 Cal.3d 102, 219 Cal.Rptr. 170, 707 P.2d 232, 242
   17 (1985). Such provisions have been recognized in, for example, installment
   18 contracts, Petersen v. Hartell, supra; loan agreements, Smith v. Flagstar Bank, FSB,
   19 2018 WL 3995922, *4 (N.D. Cal. 8/21/ 2018); license agreements, Point Products
   20 A.G. v. Sony Music Entertainment, Inc., 2000 WL 1006236 (S.D.N.Y. July 20,
   21 2020); and settlement agreements. Theta Chi Fraternity, Inc., v. Leland Stanford
   22 University, 212 F. Supp. 3d 816, 823 (N.D. Cal.2016).
   23      The Previous Settlement Agreement contains just such notice and cure
   24 provisions. It requires Neman Brothers to give InterFocus contractually-defined
   25 “Adequate Notification” of any alleged infringement. It grants InterFocus seven
   26 business days to “cure” any alleged infringement for which such notice is given, and
   27 unambiguously defines the mechanism by which InterFocus could “cure” that
   28 alleged infringement, which is to the allegedly infringed products and/or designs

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    1 from InterFocus’ platform within seven business days. It also prohibits Neman
    2 Brothers from filing suit for 30 days after sending the “Adequate Notification” so
    3 that the parties could informally resolve their dispute by, for example, InterFocus
    4 “curing” the alleged infringement as permitted in the same provision. (PSA §5, Exs.
    5 2 and 3.)
    6               2.    Neman Brothers’ Copyright Infringement Claims Breach the
                          “Notice and Cure” Provisions of the Previous Settlement
    7
                          Agreement as a Matter of Law.
    8         In addition to the PSA’s release barring three of the copyright infringement
    9 claims at issue as described above, all of Neman Brothers’ copyright infringement
   10 claims are barred by the notice and cure provisions in the PSA as a matter of law,
   11 and summary judgment should be entered in InterFocus’ favor on plaintiff’s
   12 copyright infringement claims for at least two reasons.
   13         First, the copyright infringements alleged in Neman Brothers September 15,
   14 2020 letter were “cured” when InterFocus removed or confirmed the prior removal
   15 of the allegedly infringed products or designs from its platform within seven
   16 business days of receipt of the September 15 letter, as provided in paragraph 5 of the
   17 Previous Settlement Agreement.2 (Le Decl. ¶¶ 8-14.)
   18         Second, Neman Brothers never provided written notice before adding the
   19 additional copyright infringement claims alleged for the first time in its amended
   20 complaint. (Le Decl. ¶ 16.) InterFocus nevertheless removed those alleged
   21 infringements from its platform, and thereby “cured” any alleged infringement on
   22 this basis under the PSA. (Id.)
   23
   24
        2
   25  Three alleged infringements had in fact been removed from InterFocus’ platform
      before InterFocus received the September 15 letter, and were also released by the
   26 PSA. However, the fact that InterFocus confirmed their removal from its platform
   27 within seven business days after receiving the September 15 letter means that, by
      definition, those alleged infringements were also “cured” under the notice and cure
   28 provisions in the PSA.

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    1        InterFocus’ cure of the above alleged infringements contractually bars Neman
    2 Brothers from pursuing them in this action pursuant to the plain language of the
    3 PSA as a matter of law. “Curing a default means returning to pre-default conditions,
    4 such that any consequence of the default are nullified.” In re New Investments, Inc.,
    5 840 F. 3d 1137, 1143 (9th Cir. 2016) (internal citations and quotation marks
    6 omitted). “[T]he plain meaning of “cure”… provides a debtor with the right to
    7 remedy a default and restore matters to the status quo ante. In other words, cure
    8 will nullify all consequences of default.” In re Frazer, 37 B.R. 621, 630 ((9th Cir.
    9 BAP 2007) (internal citations omitted). Courts have granted summary judgement
   10 against and dismissed claims by plaintiff who fails to comply with or tries to avoid
   11 the consequences of a notice and cure provision before filing suit.
   12        For example, Matrix Group Ltd., Inc v. Rawlings Sporting Goods Co., 477 F.
   13 3d 583, 588-89 (8th Cir 2007), affirmed summary judgment for defendant on a
   14 breach of contract claim because plaintiff did not comply with the 30-day notice-
   15 and-cure provision in the relevant agreement. Rejecting plaintiff’s argument that
   16 defendant’s substantial breach excused it non-compliance, the Court held that “the
   17 unambiguous language of a contract must be given its plain meaning and full
   18 effect…When contract language speaks to a particular dispute, the Court gives those
   19 privately negotiated and agreed upon terms their full and plain meaning.” (internal
   20 quotations and citations omitted.)
   21        Alliance Metal, Inc of Atlanta v. Hinely Industries, Inc., 222 F. 3d 895, 903
   22 (11th Cir. 2000) affirmed a summary judgment for one contracting party because the
   23 other party failed to comply with a “notice and cure” provision in the relevant
   24 contract, holding that excusing non-compliance would “effectively render
   25 meaningless contractual ‘notice and cure’ requirements like the oneincluded in the
   26 …provision here.”
   27        Anacapa Technology, Inc. v. ADC Telecommunications, Inc., supra, 241 F.
   28 Supp. 2d at 1019-20 (D. Minn. 2002), granted partial summary judgment to

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    1 defendant because defendant contractually cured the alleged breach of the contract
    2 plaintiff asserted, holding that “[plaintiff] Anacapa may not force [defendant] ADC
    3 to forfeit its rights under the contract… because ADC has cured its material breach
    4 through substantial performance or performance without material failure.” 241 F.
    5 Supp. 2d at 1021.
    6        Numerous other cases hold consistent with the above authority. See Smith v.
    7 Flagstar Bank, FSB, 2018 WL 3995922, at *4 (N.D. Cal. 8/21/2018) (relying on
    8 Giotta v. Ocwen Loan Servicing, LLC, 706 Fed Appx. 421 (9th Cir. 2017), court
    9 “sees no alternative to grant the motion to dismiss” complaint for failure to comply
   10 with notice and cure provision); Shelby v. Factory Five Racing, Inc., 684 F. Supp.
   11 2d 205, 214 (D. Mass. 2010) (dismissed trademark infringement complaint because
   12 plaintiff did not comply with the notice and cure provision in an earlier settlement
   13 agreement before filing an amended complaint with new claims); Point Products
   14 A.G. v. Sony Music Entertainment, Inc., supra, 2000 WL 1006236, *4 (S.D.N.Y.
   15 July 20, 2000) (grants summary judgment for breach of contract based on a
   16 defendant’s failure to comply with the “notice and cure” provision in a licensing
   17 agreement involving copyright interests before terminating it).
   18        Summary judgment should be granted to InterFocus for Neman Brothers’
   19 failure to comply with the PSA’s notice and cure provisions under the above
   20 authorities. Here, as in Anacapa Technology, Inc., supra, InterFocus’ “cure” of all
   21 of Neman Brothers’ alleged infringements as permitted by the plain language of the
   22 PSA nullifies and contractually bars all alleged infringement claims. That is what
   23 “curing” the alleged infringement means in the PSA, as recognized in Anacapa, In
   24 re New Investments and In re Frazer, cited above. Summary judgment should be
   25 entered in InterFocus’ favor for this reason.
   26        Further, Neman Brothers’ adding new copyright infringement claims without
   27 giving InterFocus pre-suit notice or an opportunity to cure as required by the PSA
   28 independently supports summary judgment for InterFocus on those newly added

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    1 claims. Here, as in Matrix Group, Ltd., Alliance Metal, Smith v. Flagstar, Point
    2 Products A.G., and especially Shelby, which also involved new claims added to an
    3 amended complaint, Neman Brothers’ failure to give contractually-required notice
    4 before pursuing such claims requires that summary judgment be entered in
    5 InterFocus’ favor, and that Neman Brothers’ copyright infringement claims be
    6 dismissed with prejudice.
    7         Summary judgment should be entered in InterFocus’ favor on all of the
    8 copyright infringement claims in Neman Brothers’ amended complaint for these
    9 reasons.
   10 III.    NEMAN BROTHERS HAS BREACHED THE PREVIOUS
              SETTLEMENT AGREEMENT AS A MATTER OF LAW.
   11
              Neman Brothers’ actions in filing suit and pursuing its copyright infringement
   12
        claims is not only barred by the PSA as described above, it breaches the PSA and
   13
        makes Neman Brothers liable for the damages its breach has caused. This Court
   14
        should enter partial summary judgment that Neman Brothers is liable on InterFocus’
   15
        breach of contract counterclaim for the damages InterFocus proves in a subsequent
   16
        proceeding.
   17
              To prevail on its breach of contract counterclaim, InterForcus must prove 1) a
   18
        contract, (2) InterFocus’ performance or excuse for nonperformance, (3) Neman
   19
        Brothers’ breach, and (4) resulting damages to InterFocus . Coles v. Glaser, 2 Cal.
   20
        App. 5th 384, 205 Cal. Rptr. 3d 922 (1st Dist. 2016).
   21
              InterFocus has done that here as follows:
   22
              1) The PSA is the relevant contract (Le Decl. ¶ 4, Ex. 2 and 3);
   23
              2) InterFocus has performed all of its obligations under the PSA (Le Decl. ¶
   24
                 5);
   25
              3) Neman Brothers has breached the PSA by failing to comply with its
   26
                 notice- and-cure provision, and by pursing alleged infringement claims
   27
                 InterFocus has cured as provided in the PSA (Le Decl. ¶¶ 8-16); and
   28

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    1        4) InterFocus has been damaged by Neman Brothers’ breach of the PSA
    2            because, inter alia, it has been forced to divert employee resources and pay
    3            attorneys’s fees to defend copyright infringement claims Neman Brothers
    4            contractually agreed it would not bring as described above. (Le Decl. ¶
    5            17.) The amount of those damages will be determined in a subsequent
    6            proceeding.
    7        This Court should therefore grant partial summary judgment that Neman
    8 Brothers is liable for damages on InterFocus’ breach of contract counterclaim,
    9 including but not limited to lost employee time and attorneys’ fees incurred in
   10 defending this action, with the amount of damages to be determined in a subsequent
   11 proceeding.
   12 IV.    CONCLUSION.
   13        Summary judgment should be entered in InterFocus’ favor on Neman
   14 Brother’s complaint and partial summary judgment should be entered in InterFocus’
   15 favor on its breach of contract counterclaim for all the reasons described above.
   16
   17                                           RIMON, P.C.
   18 Dated: July 13, 2021
   19                                       By: /s/ Mark S. Lee
   20                                           Mark S. Lee
                                                Zheng Liu
   21
                                                Attorneys for Defendants and
   22                                           Counterclaim Plaintiffs
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